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                                                             Thursday, 14 March, 2019 12:24:25 PM
                                                                     Clerk, U.S. District Court, ILCD

                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE CENTRAL DISTRICT OF ILLINOIS
                             URBANA DIVISION

UNITED STATES OF AMERICA,

             Plaintiff,

vs.                                                  Case No. 07-cr-20025

JABARI VEALS,

             Defendant.

                 GOVERNMENT’S REQUEST FOR HEARING

      Now comes the United States of America by John C. Milhiser, United

States Attorney and Patrick D. Hansen, Assistant United States Attorney and

respectfully requests that this Court set this matter for hearing at the earliest

possible date, and in furtherance of that request, represents the following:

      1.     On or about February 8, 2007, Jabari Veals was charged with one

count of possessing with the intent to distribute over 59 grams of cocaine base

(crack) in violation of 21 U.S.C. §841(a)(1) and §841(b)(1)(A). The government

provided notice of prior convictions under 21U.S.C. §851, which enhanced the

possible penalties to a mandatory sentence of life imprisonment. He was found

guilty of that offense after a jury trial in October of that year. Due to his criminal

history and the statutory scheme in place at the time, the court sentenced him to




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the mandatory term of life imprisonment. He has been in custody since January

16, 2007.

        2.       The Fair Sentencing Act of 2010, Pub. L. No. 111-220, § 2, 124 Stat.

2372, 2372 (2010) made substantial changes to the statutory scheme that made the

life sentence imposed on Mr. Veals mandatory. The First Step Act of 2018, Pub. L.

No. 115-391, § 404, 132 Stat. 5194, 5220 (2018) made these changes retroactive to

apply in Mr. Veals’ case and allows him to petition this Court for relief. 1

        3.       The United States Attorney, the U.S. Probation Office and the

defense all agree that Mr. Veals is eligible for a reduction in sentence due to the

First Step Act. The government and defense may disagree as to the extent of the

reduction appropriate in this case and therefore request that this court set the

matter for a hearing and request the U. S. Probation office to provide a

supplemental report summarizing the criminal activity which resulted in this

conviction, a calculation of the sentencing guideline range(s) available had the

Fair Sentencing Act been in effect at the time this offense was committed, and

additional information regarding the defendant’s activities and disciplinary

issues (if any) arising from the defendant since he has been in prison.

             WHEREFORE, the United States of America respectfully request that


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 The government notes that Mr. Veals was found to be a “career offender” under Chapter 4 of the U.S. Sentencing
Guidelines. (PSR ¶34). That finding was not relevant at the time due to the mandatory minimum sentence of life
imprisonment, but may be relevant in this Court’s determination as to the extent of reduction appropriate in this
case.

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this matter be set for a hearing at the earliest possible date convenient to the

court.

                                       Respectfully submitted,

                                       JOHN C. MILHISER
                                       UNITED STATES ATTORNEY

                                       /s/ Patrick D. Hansen
                                       Patrick D. Hansen
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                          CERTIFICATE OF SERVICE


      I hereby certify that on March 14, 2019, I electronically filed the foregoing

with the Clerk of the Court using the CM/ECF system, which will send

notification of such filing to the following: MiAngel Christina Cody.


                                      /s/ Patrick D. Hansen
                                      Patrick D. Hansen
                                      Assistant United States Attorney




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